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         October 16, 2020                                                           Application granted.

         VIA ECF                                                                    SO ORDERED.

         Hon. Ronnie Abrams, U.S.D.J.
         United States District Court                                               __________________
         Southern District of New York                                              Hon. Ronnie Abrams
         40 Foley Square, Room 2203                                                 10/20/2020
         New York, New York 10007

         Re:      Veerapan Subramanian v. Lupin, Inc., Civil Action No. 17-cv-5040 (RA)(KHP)

         Dear Judge Abrams:

         This firm represents Sellers in the above-referenced action. We write pursuant to Your Honor’s
         Order entered September 29, 2020 (ECF Doc. No. 372) directing the parties to file more narrowly
         tailored versions of documents filed under seal and Your Honor’s order dated October 15, 2020
         directing Sellers to file an unredacted version of their objections to Judge Parker’s Report and
         Recommendation (“Objections”) (ECF Doc No. 355).

         Upon further review of Sellers Objections prior to filing, one line of Sellers Objections contains
         information requested by Lupin to be redacted on the grounds that it contains details of Lupin’s
         confidential business plans. Counsel for Lupin reviewed and approved redaction of this material
         in connection with Sellers submission of more narrowly tailored redactions of their brief in support
         of partial summary judgment, and the bases therefor were stated by Lupin in their letter submission
         to the Court filed October 2, 2020 (ECF Doc. No. 376). Accordingly, Sellers request that the Court
         accept for filing under seal this more narrowly redacted form of Sellers Objections in lieu of an
         unredacted copy as directed in the Court’s October 15, 2020 Order.

         The Court’s consideration of this request is appreciated.

         Respectfully submitted,

         /s/ Martin C. Fojas

         Martin C. Fojas




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